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6                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WASHINGTON
7
      UNITED STATES OF AMERICA,
8                                                NO. CR-05-2075-6-EFS
                          Plaintiff,             NO. CR-05-2075-7-EFS
9
                   v.
10                                               ORDER DENYING DEFENDANT
      ERICA CUEVAS-CEBALLOS (6) and              ESPINOZA’S MOTION TO SEVER AND
11    ALICE ESPINOZA (7),                        MEMORIALIZING DEFENDANT
                                                 CUEVAS-CEBALLOS’ WITHDRAWAL OF
12                        Defendants.            MOTION TO SEVER
13

14        On September 20, 2005, the Court held a hearing in the above-

15   captioned matters.        Defendants Erica Cuevas-Ceballos and Alice Espinoza

16   were present, represented by Rolando Adame and Ed Alden, respectively.

17   Assistant United States Attorney Ms. Jane Kirk appeared on behalf of the

18   Government.        Before the Court were Defendants’ Motions to Sever, (Ct.

19   Recs. 371 & 503).         The Court read the submitted materials and relevant

20   case law, considered oral argument, and was fully informed. This Order

21   serves to memorialize and supplement the Court’s oral rulings.

22   A.   Ms. Cuevas-Ceballos

23        Mr. Adame explained to the Court that Ms. Cuevas-Ceballos’ Motion

24   to Sever could not be heard because letters that Ms. Cuevas-Ceballos had

25   intended   to      rely   upon   to   establish     a      Bruton   problem   were    lost.

26   Accordingly, Ms. Cuevas-Ceballos withdrew her motion to sever.


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1    B.    Ms. Alice Espinoza

2          Ms. Espinoza asks the Court to sever her case from the remaining

3    twenty co-defendants pursuant to Federal Rule of Criminal Procedure 14

4    on the following grounds: (1) a curative instruction will not cure the

5    prejudice Ms. Espinoza will suffer when the Government presents evidence

6    obtained during an unconstitutional of her storage shed, (2) other

7    Defendants will offer theories of defense inconsistent with Ms. Espinoza,

8    (3) co-Defendant Gilberto Rivera’s testimony is necessary to exculpate
9    Ms. Espinoza or minimize her role, (4) the evidence against the co-

10   Defendants is much stronger and will result in an unfair spillover effect

11   to Ms. Espinoza, and (5) that the sheer number of Defendants and

12   complexity of issues may prevent the jurors from rational decision

13   making.     The   Government    opposes     severance,      submitting    joinder   is

14   appropriate.

15         At this stage, the Court finds joinder is appropriate. Ms. Espinoza

16   has not provided evidence showing co-defendant Gilberto Rivera will in

17   fact provide testimony that will exculpate Ms. Espinoza.                 Accordingly,

18   because there is evidence, albeit possibly weak, connecting Ms. Espinoza

19   to the drug conspiracy, the Court finds joinder is currently appropriate

20   under Federal Rule of Criminal Procedure 8(b) and that Ms. Espinoza has

21   not established "there is a serious risk that a joint trial would

22   compromise a specific trial right of [Ms. Espinoza] or prevent the jury

23   from making a reliable judgment about guilt or innocence."                 See Zafiro

24   v. United States, 506 U.S. 534, 539 (1993).

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     ORDER* 2
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1            For the above reasons, IT IS HEREBY ORDERED:

2            1.    Defendant Erica Cuevas-Ceballos’ (6) Motion to Sever, (Ct. Rec.

3    503), is WITHDRAWN.

4            2.      Defendant Alice Espinoza’s Motion to Sever (Ct. Rec. 371),                     is

5    DENIED.

6            IT IS SO ORDERED. The District Court Executive is directed to enter

7    this order and to provide copies to all counsel.

8            DATED this 21st               day of September 2005.
9

10                                            S/ Edward F. Shea

11                                                EDWARD F. SHEA
                                           United States District Judge
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     ORDER* 3
